     Case 2:13-cr-06070-SAB          ECF No. 29   filed 12/16/13   PageID.62   Page 1 of 4



   MICHAEL C. ORMSBY
 1 United States Attorney
   Eastern District of Washington
 2 ALEXANDER C. EKSTROM
   Assistant United States Attorney
 3 402 E. Yakima Avenue, Suite 210
   Yakima, Washington 98901
 4 (509) 454-4425

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 6
                            IN THE UNITED STATES DISTRICT COURT
 7                            EASTERN DISTRICT OF WASHINGTON

 8
     UNITED STATES OF AMERICA,
 9
                        Plaintiff,                  No: CR-13-6070-WFN
10                                                  AMENDED
11         vs.                                      GOVERMENTS RESPONSE TO
                                                    DEFENDANT’S MOTION TO
12                                                  RECONSIDER CONDITIONS OF
     KENNETH ROWELL,                                RELEASE
13
                        Defendant.
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           Plaintiff, United States of America, by and through Michael C. Ormsby, United
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     States Attorney for the Eastern District of Washington, and Alexander C. Ekstrom,
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     Assistant United States Attorney for the Eastern District of Washington, responds to
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     the Defendant’s Request To Reconsider Detection (ECF No. 25), as follows:
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           I. PROCEDURAL HISTORY
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           On December 2, 2013, a Criminal Complaint was filed, charging the Defendant
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     with a violation of 21 U.S.C. section 841(a)(1), Possession With Intent to Distribute A
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     Controlled Substance, Methamphetamine. (ECF No. 1). The same day, a warrant
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     issued. (ECF No. 2). The Defendant was arrested, and had his initial appearance on
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     December 4, 2013. (ECF No. 3). The Government filed a Motion for Detention, and
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     the bail hearing was scheduled for December 9, 2013. (ECF Nos. 4, 10). At the
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     Detention Hearing on December 9, 2013, in front of Magistrate Judge John T.
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     Rodgers, after argument of counsel, the Defendant was ordered detained. (ECF No.
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     14). At that hearing, the Defendant argued that he should be released to his parents,
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     and indicated that he could work for his father’s construction company. Magistrate
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     Judge Rodgers commented that he did not believe that there were any conditions that
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     would reasonably assure the Defendant’s appearance, and the safety of the
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     community. In particular, Magistrate Rodgers pointed out that the Defendant’s
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     proposal for release at the time of that hearing, to his parents, would be the same
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     conditions under which has committed crimes and is accused of committing a recent
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     series of crimes 1. Magistrate Rodgers has thus previously found the Defendant’s
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     proposed release address unacceptable.
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10          II. ARGUMENT
11          A Defendant may move to reopen a detention hearing based on information
12 “that was not known to the movant at the time of the hearing and that has a material

13 bearing on the issue of whether there are conditions of release on the issue whether

14 there are conditions of release that will reasonably assure the appearance of such

15 person as required and the safety of any other person and the community.” 18 U.S.C.

16 section 3142(f)(2)(B). That said, it is clear that the magistrate was advised of the

17 proposed residence (ECF No. 13, page 2), and found it insufficient, in light of the

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     Defendant’s past history. In addition, the Government believes that the possibility of
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     employment with his father was also proffered at the original hearing. As such, there
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     is no new information to require a hearing under the statute.
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            In addition, the Government is advised, this morning, that the certified copies of
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     the Defendant’s many prior drug convictions have arrived at the Metro Drug Task
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     Force. Upon confirmation of the certified copy of Judgment and Sentence in Benton
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     1
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         The Defendant is a sex offender subject to registration, and has consistently

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     provided his parent’s address to local authorities. The Defendant has lived in Pasco,

27 WA, by self-report, for his entire life, with the exception of one year in 2002. (ECF

28 No. 13).
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     County Superior Court Cause Number 09-1-00550-1, the Government will be filing
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     its notice of prior conviction under 18 U.S.C. section 851, which will result in a
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     mandatory minimum term of 10 years in prison, which will trigger the rebuttal
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     presumption under 18 U.S.C. section 3142(e)(3).
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 5         III. CONCLUSION
 6         Because the Defendant’s information is not materially different from that
 7 previously presented, and because by the time of the requested hearing, the Defendant

 8 will be subject to the rebuttal presumption, the Defendant’s motion should be denied.

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           DATED this 16th day of December, 2013.
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12                                          MICHAEL C. ORMSBY
                                            United States Attorney
13
                                            s/ Alexander C. Ekstrom
14                                          ALEXANDER C. EKSTROM
                                            Assistant United States Attorney
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 1        I hereby certify that on December 16, 2013, I electronically filed the foregoing
 2 with the Clerk of the Court using the CM/ECF System which will send notification of

 3 such filing to the following: Rick L. Hoffman

 4

 5
                                          s/ Alexander C. Ekstrom
 6                                        Alexander C. Ekstrom
                                          Assistant United States Attorney
 7                                        United States Attorney’s Office
                                          402 E. Yakima Ave., Suite 210
 8                                        Yakima, WA 98901
                                          (509) 454-4425
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